                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

 United States,                                   Case No. 3:21 CV 22

                                   Plaintiff,               NOTICE
                                                  CASE MANAGEMENT CONFERENCE
                  -vs-
                                                  JUDGE JACK ZOUHARY
 Shaffer Pharmacy, Inc., et al.,

                                   Defendants.



       This Court held a Phone Status on February 10, 2021. Counsel present: Angelita Cruz Bridges,

Scott Dahlquist, Patricia Fitzgerald and Maryann McGuire for Plaintiff; Rick Kerger for Defendants

Shaffer Pharmacy and Thomas Tadsen; Chuck Boss for Defendant Wilson Bunton.

       Counsel discussed compliance with Order Denying Motion for Preliminary Injunction (Doc.

32). Counsel agreed to produce initial disclosures necessary for settlement discussions. If assistance

from Court is needed, counsel may contact Chambers.

       Defendants’ Answers are due March 10, 2021. (Defendants’ Motion for Extension of Time

to Answer (Doc. 36) is denied as moot.) A Case Management Conference is set for Tuesday, March

30, 2021 at 11:00 AM. At that time, counsel shall call the District Court conference line.

                                                 * * *

       This case is subject to the provisions of Local Rule 16.1 of the Northern District of Ohio

entitled “Differentiated Case Management” (DCM). Counsel are expected to familiarize themselves

with applicable Local Rules and Federal rules of Civil Procedure. This Court will evaluate this case

pursuant to Local Rule 16.1 and assign this case to an appropriate management track (expedited,

standard, complex, mass tort and administrative) described in Local Rule 16.2(a). The track
assignment will dictate time lines for discovery, motions, and trial. Unless otherwise ordered,

discovery will be guided by Local Rule 26.1, and motion practice will be guided by Local Rule 7.1.

                    SCHEDULING OF CASE MANAGEMENT CONFERENCE

       The Case Management Conference (CMC) shall be held on Tuesday, March 30, 2021 at

11:00 AM, before the Honorable Jack Zouhary, United States District Judge. Counsel may participate

by phone, and party attendance is not required.

                         APPLICATION OF FEDERAL CIVIL RULE 26(a)

       Federal Civil Rule 26(a) mandates required disclosures in lieu of certain discovery requests,

unless otherwise stipulated or directed by Order of this Court or by Local Rule. Initial Disclosures

shall be exchanged no later than two weeks prior to the CMC so that counsel may knowledgeably

complete the Report of the Parties. If additional time is needed, please call Chambers (419-213-

5675). In this case, all disclosures mandated by Rule 26(a) shall apply, including Initial Disclosures,

Expert Testimony, and Pre-Trial Disclosures.

       Prior to the CMC, parties may undertake such informal or formal discovery as mutually agreed.

Absent such agreement, no preliminary formal discovery may be conducted prior to the CMC except

as necessary and appropriate to support or defend against any challenges to jurisdiction or claim for

emergency, temporary, or preliminary relief. Local Rule 30.1 governs conduct at depositions, and

counsel shall comply with this Rule.

                                    TRACK RECOMMENDATIONS

       Pursuant to Local Rule 16.2(a), and subject to further discussion at the CMC, this Court

recommends the Standard Track, which means the trial date will be no later than fifteen (15) months

from the filing of the Complaint.




                                                  2
                            PREPARATION FOR CMC BY COUNSEL

       The general agenda for the CMC is set by Local Rule 16.3(b). Counsel should be prepared to

discuss claims and defenses in detail with the Judge.

       Counsel for Plaintiff shall arrange with opposing counsel to hold the meeting required by

Federal Civil Rule 26(f) and Local Rule 16.3(b). A Report of this planning meeting shall be jointly

signed and filed at least three (3) days before the CMC. The Report in pdf format is attached. For

your convenience, the Report of Parties’ Planning Meeting can be sent to you in Word or Wordperfect

format by requesting it via email from laura doerfler@ohnd.uscourts.gov.

                              FILING OF DISCOVERY MATERIALS

       Unless otherwise ordered, initial disclosures and discovery materials shall not be filed except

where submitted in support of a motion or for use at trial. More detail on Judge Zouhary’s case

management     practices   and   trial   procedures     can   be   found   at   this   Court’s   website:

www.ohnd.uscourts.gov.



                                                           SANDY OPACICH,
                                                        Clerk of Court

                                                           s/ LAURA DOERFLER,
                                                        Courtroom Deputy for Judge Zouhary




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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

 United States,                                         Case No. 3:21 CV 22

                                   Plaintiff,           REPORT OF PARTIES’
                                                        PLANNING MEETING
                  -vs-
                                                        JUDGE JACK ZOUHARY
 Shaffer Pharmacy, Inc., et al.,

                                   Defendants.


       l.      Pursuant to Federal Civil Rule 26(f) and Local Rule 16.3(b), a meeting was held on

______________________, and was attended by:

                                           Counsel for Plaintiff ________________________________

                                           Counsel for Defendants _____________________________

       2.      The parties:

       _____ Have exchanged the pre-discovery disclosures (the actual documents -- not just the list)

required by Rule 26(a)(l) and the Case Management Conference (CMC) Notice; or

       _____ Have permission from this Court to delay disclosure until after the CMC.

       3.      The parties recommend the following track:

                         _____ Expedited                 Standard    _____ Complex

                               _____ Administrative          _____ Mass Tort

       4.      Trial Month/Year:                (15 months from filing if Standard Track)

       5.      This case            is /         is not suitable for a Settlement/Mediation Conference. If

yes, indicate if Court assistance is desired and how soon:

       _____ Shortly after CMC

       _____ After key discovery

       _____ Other [describe]
       6.      The parties         do/         do not consent to the jurisdiction of the United States

Magistrate Judge pursuant to 28 U.S.C. 636(c).

       If you are consenting to the jurisdiction of the Magistrate Judge, please contact Chambers (419-

213-5675) prior to the CMC. A Consent to the Exercise of Jurisdiction will then be issued for

signature by all parties and the case will be sent to the Magistrate Judge for the CMC and all further

proceedings.

       7.      The parties agree that this case _____ does / _____ does not involve electronic

discovery. (Counsel are reminded to review the default standard for e-discovery set forth in

Appendix K to the Local Rules.)

       8.      Recommended Discovery Plan:

               (a)    Describe anticipated e-discovery (i.e., what ESI is available and where it

resides; ease/difficulty and cost of producing information; schedule and format of production;

preservation of information; agreements about privilege or work-product protection, etc.):

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

               (b)    Describe any anticipated discovery issues or potential problems:

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

       9.      Recommended cut-off for amending the pleadings and/or adding additional parties:

                                             __________________




                                                  2
       10.    Expert disclosures:

              (a)     Names by:             __________________

              (b)     Reports by:           __________________

              NOTE:           Expert depositions require prior Court approval.

       11.    Discovery deadlines:

              (a)     Liability:            __________________

              (b)     Damages:              __________________

              NOTE:           No dispositive motions shall be filed without Court permission and only

after: sufficient discovery has been completed that allows counsel to represent to this Court that

counsel believe no disputed issues of material fact exist; and counsel have conferred with each other

about the merits of such motion.

       12.    Recommended month/date for: telephone status with Court, or Joint Status Report filed

by counsel:                                 __________________

       13.    Other matters for this Court’s attention: ________________________________

______________________________________________________________________________

______________________________________________________________________________



                                     Attorney for Plaintiff:           s/


                                     Attorney for Defendants:         s/




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